                            Case 2:23-cv-01429-KM-JRA Document 1-1 Filed 03/14/23 Page 1 of 3 PageID: 13
                                                          Exhibit A to the Complaint
Location: Jersey City, NJ                                                                                IP Address: 173.63.129.216
Total Works Infringed: 24                                                                                ISP: Verizon Fios
 Work      Hashes                                                                UTC              Site          Published    Registered   Registration
 1         Info Hash: FD64ACEE9BD20F9B0C375313FEAC8534B829312B                           02-13-   Blacked       04-20-2018   05-23-2018   PA0002101307
           File Hash:                                                                      2023
           6CE297677FC8DEBF923AE7EAAB2F619FB31C0202BB124418378125D477E7F3A8            14:16:32
 2         Info Hash: 5ABA96EF2E51974C829797C99F05440926940619                           02-12-   Blacked       04-15-2018   05-23-2018   PA0002101306
           File Hash:                                                                      2023
           C09B42F655AF47E393FA91E0F17F6ECE792591EAC039257B9C2089583D7D1302            03:32:46
 3         Info Hash: 01E69F34F85A96548AAAE6C7BF84A13E6D2371F1                           02-12-   Blacked       04-25-2018   06-19-2018   PA0002126642
           File Hash:                                                                      2023
           F0A65331D33A54EE868789EFA494EB5A877CF2CB623FDCC9B93E19C6A240364E            00:32:43
 4         Info Hash: 634ADC610DE1CC11B3F7DD4B8F2AC890232C06FC                           02-12-   Blacked       04-30-2018   05-24-2018   PA0002101364
           File Hash:                                                                      2023
           A9A98456BE9FBFB9E083D3E60AAF4E334717747671F208D7F62126778DC00AE7            00:27:24
 5         Info Hash: F0B39311C4927B2A742C84292AD6EB7C12119E1B                           01-17-   Blacked       01-29-2022   02-14-2022   PA0002335485
           File Hash:                                                                      2023
           6163C1F92C98DFF19414438D1915654C6B908EB96F3DFB3F878C86930CF852F6            16:58:56
 6         Info Hash: F1E8E40B9082FAE2F594FF8C66B57DE04CD2C1DB                           01-17-   Blacked       06-07-2021   06-15-2021   PA0002296926
           File Hash:                                                                      2023   Raw
           A589853FE589838D31AFFDAEA90FDE0BE0A9010F94DA2DA8824EAC909D852127            16:32:57
 7         Info Hash: 46BB176456B6FAED37E8E0F5601E6D803F4494CE                           01-17-   Blacked       05-17-2019   07-05-2019   PA0002206002
           File Hash:                                                                      2023   Raw
           A723898E3804C044A68C4BBB45FFFA9111A143DEE68C3BB8C37BFC93A08588B8            16:03:37
 8         Info Hash: A12A9975F7649C1C5E543623EA13E0F7D6D92807                           11-27-   Blacked       10-16-2022   11-01-2022   PA0002378071
           File Hash:                                                                      2022   Raw
           D639D13662A921C97C81674EDB2DE452005CB8190C6961545F216A9C0C93DDA9            23:48:03
 9         Info Hash: F402BE3DB8DAF091CF3DE1616E069673A438B62E                           11-22-   Blacked       09-14-2020   09-29-2020   PA0002258688
           File Hash:                                                                      2022   Raw
           57C2FB7C16A1709C7823FFAE7360A594D3EAEA928F20874637F93D63B6F41C07            17:41:53
 10        Info Hash: EDCB505C02A9AB47BDC8C2E7E3A7EDF7D1D3C291                           11-22-   Blacked       02-06-2020   02-20-2020   PA0002229053
           File Hash:                                                                      2022   Raw
           837E1490718032F2F3BF70CBA954C1B91292F83F3300EFA39B0FAAFC76E019F3            17:18:58
 11        Info Hash: 8C7002D06918757B0EC601DAEC8D28B078B95857                           11-11-   Blacked       10-26-2022   11-01-2022   PA0002378070
           File Hash:                                                                      2022   Raw
           60DD5E55583B934E077085329CD4D1C87B3C556B37B3C892D20231495DCE4E57            18:05:43
                        Case 2:23-cv-01429-KM-JRA Document 1-1 Filed 03/14/23 Page 2 of 3 PageID: 14

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 1AAFD7CF00E64C86B99A77DD40EC18F7B21EA3BF                   11-02-   Blacked   06-05-2021   06-15-2021   PA0002296924
       File Hash:                                                              2022
       9AB86A2EB642217E68F2A8EB20F3B5FD7AB02B37D1FC7E9816925DB06D1A3721    16:04:33
13     Info Hash: 8A705E0A2620A2D76770FFA5C03AB5CFB80B90DC                   11-02-   Blacked   10-12-2020   10-22-2020   PA0002261809
       File Hash:                                                              2022   Raw
       D9D80A46E30C75292B548B9FB7B079B0CDA718926F48544AA4B707B427DEAD71    15:40:13
14     Info Hash: D088D4B9015C2F8C1DD23A4813A08B216F428399                   11-01-   Blacked   04-22-2019   06-03-2019   PA0002178771
       File Hash:                                                              2022   Raw
       0BF9091086EB0C13C13C34319771E663F51DAE81D896AE19D345A65275E58AB7    22:17:50
15     Info Hash: 3C729A434589E8088854EF52BA98AF4DA7C8DB8D                   11-01-   Blacked   08-20-2019   09-13-2019   PA0002200701
       File Hash:                                                              2022   Raw
       5A82DBB63F749AF866C80BE1055B9787C4C227A3E861247BF4FAE9991CCF960B    22:13:31
16     Info Hash: 3FCB5EDC4F914B5E7E509A419779B9C41C106BED                   11-01-   Blacked   10-01-2022   10-31-2022   PA0002377817
       File Hash:                                                              2022
       64D9FA6D56DC2C9786A13DBC667D003150B4FA85671ED892B747B6486C35D61C    17:23:20
17     Info Hash: A96E15624A7DC7EBC246B11E0E6C448D785EB836                   10-27-   Blacked   01-10-2020   02-04-2020   PA0002225582
       File Hash:                                                              2022
       5A0ADBA8C9A43A01DEC1C9FE51D16254C2448235709D089A01B227A6AF297A1E    04:01:47
18     Info Hash: 3CD99E257386DDC5B973FD7607708B1776093C43                   10-26-   Blacked   05-15-2021   06-09-2021   PA0002295594
       File Hash:                                                              2022
       DD0DFBDFA53637D837CE79705107E47F5E01E3ED8E855C84B3FAB3C015C66A58    20:37:39
19     Info Hash: 8A8DF88281CE0785D71C06AF8B975C595E038709                   10-26-   Blacked   10-12-2018   10-28-2018   PA0002130455
       File Hash:                                                              2022
       D246E6DD3ABCF2D52C2E160F65516F3FB80AE11AC81108ADAD143B6AD467F1FB    20:35:53
20     Info Hash: 87F468553EA23E72D28CA890B907929E9C4EAD08                   10-26-   Blacked   11-20-2021   12-09-2021   PA0002325817
       File Hash:                                                              2022
       C13DB6BD87D82DA98768640105FE654F244CE5593E27C6AE9EA8A4287E12B12D    20:18:31
21     Info Hash: 812F8C86F04B2DB47952A7844C50F944578529F4                   10-26-   Blacked   07-19-2018   09-05-2018   PA0002135006
       File Hash:                                                              2022
       0B80A128D5BBEED66FFF49D4FE1FB6F25F28BE2CCBB27A7F1D5CE420120EAFE9    17:09:42
22     Info Hash: 1A39E8D1A9F6C849073CE98ED44EE8183CD834F2                   10-26-   Blacked   03-01-2018   04-12-2018   PA0002091580
       File Hash:                                                              2022
       993E3D71A3745716F1CD51EA10090146B49CB91F23C498E52562FCA0458EB90E    16:50:35
23     Info Hash: 6D044862D1B42D5EFFA989FB35BE2E1505944F22                   10-26-   Blacked   02-26-2022   03-29-2022   PA0002342860
       File Hash:                                                              2022
       A81285BF6A8EF64255D62AD290737F8B001ABB7F912F2967626C29ACFB933B9C    16:50:25
                        Case 2:23-cv-01429-KM-JRA Document 1-1 Filed 03/14/23 Page 3 of 3 PageID: 15

Work   Hashes                                                             UTC       Site      Published    Registered   Registration
24     Info Hash: 0B0A1D1F0BE390E4F1E6C030C8BAF8A892BBED98                   10-25- Blacked   07-16-2018   09-01-2018   PA0002119681
       File Hash:                                                              2022 Raw
       937BED241D7B9D117964C72A19104C793D859E2DB0892808DA9ED3E7C6D0E185    22:06:56
